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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                           NORTHERN DISTRICT OF FLORIDA
                                GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                             CASE NO. 1:88-cr-01007-MP-AK

WILLIE BUD REED, JR,

      Defendant.
___________________________/

                                           ORDER

         This matter is before the Court on Doc. 1047, Motion for Reconsideration of this Court's

Order, Doc. 1046, denying Defendant's Motion for Return of Property, Doc. 1014. Upon review

of Defendant's Motion for Reconsideration, the Court finds no legal reason to reconsider its prior

Order.

         ORDERED AND ADJUDGED:

         Defendant's Motion for Reconsideration, Doc. 1047, is DENIED.

         DONE AND ORDERED this 9th              day of June, 2005.



                                       s/Maurice M. Paul
                                  Maurice M. Paul, Senior District Judge
